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                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT
                          1100 East Main Street, Suite 501, Richmond, Virginia 23219

                                          September 25, 2023

                                 ____________________________

                                DOCKET CORRECTION NOTICE
                                ____________________________

        No.    23-1360,             Michael Shipton v. Baltimore Gas and Electric
                                    Company
                                    1:20-cv-01926-LKG

                National Employment Lawyers Association
        TO:     National Insitute for Worker's Rights
                Better Balance

        FILING CORRECTION DUE: October 2, 2023

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